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                                                                                                                             Last revised 8/1/15
                                                      UNITED STATES BANKRUPTCY COURT
                                                             District of New Jersey
 IN RE:            George B. Villanueva                                                    Case No.:               15-32668
                                                                                           Judge:              John K. Sherwood
                                                                Debtor(s)                  Chapter:                   13



                                                             CHAPTER 13 PLAN AND MOTIONS


    Original                                                         Modified/Notice Required          Discharge Sought
    Motions Included                                                 Modified/No Notice Required       No Discharge Sought

 Date:         1/18/16

                                                   THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                    CHAPTER 13 OF THE BANKRUPTCY CODE.


                                                            YOUR RIGHTS WILL BE AFFECTED.

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the actual
Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss them with
your attorney. Anyone who wishes to oppose any provision of this Plan or any motion included in it must file a
written objection within the time frame stated in the Notice. This Plan may be confirmed and become
binding, and included motions may be granted without further notice or hearing, unless written
objection is filed before the deadline stated in the Notice.


                           YOU SHOULD FILE A PROOF OF CLAIM BY THE DEADLINE STATED
                            IN THE NOTICE TO RECEIVE DISTRIBUTIONS UNDER ANY PLAN
                         THAT MAY BE CONFIRMED, EVEN IF THE PLAN REFERS TO YOUR CLAIM

 Part 1: Payment and Length of Plan

        a. The Debtor shall pay 5,131.00 Monthly to the Chapter 13 Trustee, starting on 1/1/2016 for
 approximately 60 months.


             b. The Debtor shall make plan payments to the Trustee from the following sources:
                           Future Earnings
                           Other sources of funding (describe source, amount and date when funds are
                   available):




                                                                                     1
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             c. Use of real property to satisfy plan obligations:
                            Sale of real property
                            Description:
                            Proposed date for completion:

                                      Refinance of real property
                                      Description:
                                      Proposed date for completion:

                                      Loan modification with respect to mortgage encumbering property
                                      Description:Both properties will apply for Loan Modification through Bankruptcy Portal
                                      Proposed date for completion:              May, 2016


             d.                       The regular monthly mortgage payment will continue pending the sale, refinance or
                                      loan modification.
             e.                       Other information that may be important relating to the payment and length of plan:


 Part 2: Adequate Protection
        a. Adequate protection payments will be made in the amount of $                                           to be paid to the Chapter 13
 Trustee and disbursed pre-confirmation to     (creditor).

        b. Adequate protection payments will be made in the amount of $                                           to be paid directly by the
 debtor(s) outside of the Plan, pre-confirmation to (creditor).

 Part 3: Priority Claims (Including Administrative Expenses)

             All allowed priority claims will be paid in full unless the creditor agrees otherwise:

 Creditor                                                              Type of Priority                                             Amount to be Paid
 -NONE-
 Part 4: Secured Claims
 Part 4: Secured Claims

               a. Curing Default and Maintaining Payments

          The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly
 obligations and the Debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after
 the bankruptcy filing as follows:
                                                                                                         Interest Amount to be Paid   Regular Monthly
                                                                                                         Rate on     to Creditor (In Payment (Outside
 Creditor                                   Collateral or Type of Debt                     Arrearage   Arrearage              Plan)             Plan)
 Wells Fargo Bank                           1st Mtg. NJ Property                          189153.00                     189153.00            4430.00
 Wells Fargo Bank                           2nd Mtg NJ Property                            18166.00                       18166.00             511.00
 Wells Fargo Bank                           1st Mtg MD Property                            48304.00                       48304.00           1115.00
 Wells Fargo Bank                           2nd Mtg. MD Property                           20929.00                       20929.00             324.00


               b. Modification

         1.) The Debtor values collateral as indicated below. If the claim may be modified under Section
 1322(b)(2), the secured creditor shall be paid the amount listed as the "Value of the Creditor Interest in
 Collateral," plus interest as stated. The portion of any allowed claim that exceeds that value shall be treated

                                                                                   2
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 as an unsecured claim. If a secured claim is identified as having "NO VALUE" it shall be treated as an
 unsecured claim.

                                       NOTE: A modification under this section ALSO REQUIRES
                                     the appropriate motion to be filed under Section 7 of the Plan.

                                                                                                                   Value of
                                                                                          Total                    Creditor      Annual Total
                                                                     Scheduled       Collateral      Superior     Interest in   Interest Amount to
 Creditor                        Collateral                               Debt           Value         Liens      Collateral       Rate Be Paid


        2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the
 allowed secured claim shall discharge the corresponding lien.


         c. Surrender
         Upon confirmation, the stay is terminated as to surrendered collateral. The Debtor surrenders the
 following collateral:
 Creditor                                               Collateral to be Surrendered                 Value of Surrendered       Remaining Unsecured
                                                                                                                Collateral                     Debt
 -NONE-




             d. Secured Claims Unaffected by the Plan

                   The following secured claims are unaffected by the Plan:
 Creditor
 -NONE-

 e. Secured Claims to be paid in full through the Plan
 Creditor                                                      Collateral                                     Total Amount to be Paid through the Plan
 Wells Fargo Bank Nv Na                                        20503 Chestnut Ridge Leonardtown, MD                                          48304.00
                                                               20650 Saint Marys County
 Wells Fargo Bank Nv Na                                        101 Hill Street Midland Park, NJ 07432                                       189153.00
                                                               Bergen County
 Wells Fargo Bank Nv Na                                        101 Hill Street Midland Park, NJ 07432                                         18166.00
                                                               Bergen County
 Wells Fargo Bank Nv Na                                        20503 Chestnut Ridge Leonardtown, MD                                           20929.00
                                                               20650 Saint Marys County

 Part 5: Unsecured Claims

             a. Not separately classified Allowed non-priority unsecured claims shall be paid:
                          Not less than $     to be distributed pro rata

                         Not less than              percent

                                      Pro Rata distribution from any remaining funds

             b. Separately Classified Unsecured Claims shall be treated as follows:
 Creditor                                               Basis for Separate Classification         Treatment                         Amount to be Paid
 -NONE-




                                                                                 3
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 Part 6: Executory Contracts and Unexpired Leases

             All executory contracts and unexpired leases are rejected, except the following, which are assumed:

 Creditor                                               Nature of Contract or Lease            Treatment by Debtor
 -NONE-

 Part 7: Motions

 NOTE: All plans containing motions must be served on all potentially affected creditors, together
 with local form, Notice of Chapter 13 Plan Transmittal, within the time and in the manner set forth in
 D.N.J. LBR 3015-1. A Certification of Service must be filed with the Clerk of Court when the plan and
 transmittal notice are served.


             a. Motion to Avoid Liens under 11 U.S.C. Section 522(f).
             The Debtor moves to avoid the following liens that impair exemptions:

                                                                                                                       Sum of All
                                                                                                        Amount of     Other Liens
                         Nature of                                                      Value of          Claimed     Against the Amount of Lien
 Creditor                Collateral               Type of Lien        Amount of Lien   Collateral       Exemption        Property to be Avoided
 -NONE-

             b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured.

        The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral
 consistent with Part 4 above:

  Creditor                                                     Collateral                                        Amount of Lien to be Reclassified
 -NONE-

         c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and
 Partially Unsecured.

         The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and
 to void liens on collateral consistent with Part 4 above:

                                                                                                                                    Amount to be
                                                                                                    Amount to be Deemed            Reclassified as
  Creditor                                              Collateral                                               Secured               Unsecured
 -NONE-

 Part 8: Other Plan Provisions
        a. Vesting of Property of the Estate
               Upon Confirmation
               Upon Discharge

       b. Payment Notices
       Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or
 coupons to the Debtor notwithstanding the automatic stay.




                                                                                  4
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             c. Order of Distribution

             The Trustee shall pay allowed claims in the following order:
                    1)   Trustee Commissions
                    2)   Other Administrative Claims
                    3)   Secured Claims
                    4)   Lease Arrearages
                    5)   Priority Claims
                    6)   General Unsecured Claims


             d. Post-petition claims

       The Trustee is, is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section
 1305(a) in the amount filed by the post-petition claimant.


Part 9 : Modification
        If this plan modifies a plan previously filed in this case, complete the information below.
Date of Plan being modified: 1/18/16      .
Explain below why the Plan is being modified.                 Explain below how the Plan is being modified

 Are Schedules I and J being filed simultaneously with this modified                                    Yes      No
 Plan?

 Part 10: Sign Here

             The debtor(s) and the attorney for the debtor (if any) must sign this Plan.

                Date            January 18, 2016                             /s/ Leonard R. Boyer
                                                                             Leonard R. Boyer 010241984
                                                                             Attorney for the Debtor

             I certify under penalty of perjury that the foregoing is true and correct.

                Date: January 18, 2016                                       /s/ George B. Villanueva
                                                                             George B. Villanueva
                                                                             Debtor

                Date:
                                                                             Joint Debtor




                                                                               5
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Fill in this information to identify your case:

Debtor 1                      George B. Villanueva

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF NEW JERSEY

Case number               15-32668                                                                       Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                 Not employed
       employers.
                                             Occupation            Self Employed                                Nurse
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       AVG Consulting, LLC.                         The Execu-Search Group

       Occupation may include student        Employer's address
                                                                   101 Hill St                                  675 Third Ave
       or homemaker, if it applies.
                                                                   Midland Park, NJ 07432                       New York, NY 10017

                                             How long employed there?         2 1/2 Yrs.                                 1 1/2 yrs

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $       15,000.00         $         3,919.50

3.     Estimate and list monthly overtime pay.                                             3.     +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $    15,000.00                $   3,919.50




Official Form 106I                                                      Schedule I: Your Income                                                   page 1
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Debtor 1    George B. Villanueva                                                                  Case number (if known)   15-32668


                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $       15,000.00       $         3,919.50

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.     $              0.00     $           510.21
      5b.    Mandatory contributions for retirement plans                                  5b.     $              0.00     $             0.00
      5c.    Voluntary contributions for retirement plans                                  5c.     $              0.00     $             0.00
      5d.    Required repayments of retirement fund loans                                  5d.     $              0.00     $             0.00
      5e.    Insurance                                                                     5e.     $              0.00     $             0.00
      5f.    Domestic support obligations                                                  5f.     $              0.00     $             0.00
      5g.    Union dues                                                                    5g.     $              0.00     $             0.00
      5h.    Other deductions. Specify:                                                    5h.+    $              0.00 +   $             0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $               0.00     $           510.21
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $        15,000.00       $          3,409.29
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $         1,460.00      $                0.00
      8b. Interest and dividends                                                           8b.     $             0.00      $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $              0.00     $                0.00
      8d. Unemployment compensation                                                        8d.     $              0.00     $                0.00
      8e. Social Security                                                                  8e.     $              0.00     $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                 0.00   $                  0.00
      8g. Pension or retirement income                                                     8g. $                  0.00   $                  0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                 0.00 + $                  0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          1,460.00      $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           16,460.00 + $        3,409.29 = $           19,869.29
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $          19,869.29
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                    Schedule I: Your Income                                                        page 2
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Fill in this information to identify your case:

Debtor 1                 George B. Villanueva                                                               Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                             A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY                                                     MM / DD / YYYY

Case number           15-32668
(If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             15                   Yes
                                                                                                                                             No
                                                                                   Son                                  24                   Yes
                                                                                                                                             No
                                                                                   Son                                  26                   Yes
                                                                                                                                             No
                                                                                   Wife                                 51                   Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             6,380.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                           1,539.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                             390.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                             300.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                               0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
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Debtor 1     George B. Villanueva                                                                       Case number (if known)       15-32668

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                    250.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                    150.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                    240.00
      6d. Other. Specify:                                                                   6d. $                                                      0.00
7.    Food and housekeeping supplies                                                          7. $                                                   600.00
8.    Childcare and children’s education costs                                                8. $                                                     0.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                   150.00
10.   Personal care products and services                                                   10. $                                                    100.00
11.   Medical and dental expenses                                                           11. $                                                    400.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                    500.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                    100.00
14.   Charitable contributions and religious donations                                      14. $                                                      0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                 1,400.00
      15c. Vehicle insurance                                                               15c. $                                                   255.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    427.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    293.00
      17c. Other. Specify:                                                                 17c. $                                                      0.00
      17d. Other. Specify:                                                                 17d. $                                                      0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).       18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:    School Tuition                                                     21. +$                                                1,150.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                      14,624.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                      14,624.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                              19,869.29
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                             14,624.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                               5,245.29

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                   Schedule J: Your Expenses                                                                    page 2
